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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0856V
                                          UNPUBLISHED


    BETTY MYERS-NOBLE,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: December 8, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On June 10, 2019, Betty Myers-Noble filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination she received on
December 13, 2017. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On October 5, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for SIRVA. On December 7, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $82,500.00. Proffer
at 1. In the Proffer, Respondent represented that Petitioner agrees with the proffered


1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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award. Id. Based on the record as a whole, I find that Petitioner is entitled to an award as
stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $82,500.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS
    BETTY MYERS-NOBLE,

                           Petitioner,

          v.                                              No. 19-856V
                                                          Chief Special Master Corcoran (SPU)
    SECRETARY OF HEALTH AND                               ECF
    HUMAN SERVICES,

                           Respondent.

                 RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On October 5, 2020, respondent filed a Rule 4(c) Report conceding that petitioner is

entitled to vaccine compensation for a Table injury of Shoulder Injury Related to Vaccine

Administration suffered following receipt of an influenza vaccination on December 13, 2017.

ECF No. 22. A Ruling on Entitlement was issued the same day, October 5, 2020. ECF No. 23.

          Based upon the evidence of record, respondent proffers that petitioner should be awarded

$82,500.00 for pain and suffering. This award represents all elements of compensation to which

petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.       Form of the Award

          Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $82,500.00 in the form of a check payable to petitioner. 2

Petitioner agrees.


1
  Should Petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief.
2
    Petitioner is a competent adult, therefore evidence of guardianship is not required in this case.


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                                          Respectfully submitted,

                                          JEFFREY BOSSERT CLARK
                                          Acting Assistant Attorney General

                                          C. SALVATORE D’ALESSIO
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                                          CATHARINE E. REEVES
                                          Deputy Director
                                          Torts Branch, Civil Division

                                          DARRYL R. WISHARD
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          /s/ Adriana Teitel
                                          ADRIANA TEITEL
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Dated: December 7, 2020




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